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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                            No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL LEAGUE
                                                            MDL No. 2323
PLAYERS’ CONCUSSION INJURY
LITIGATION                                                  Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                              Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
            Plaintiffs,

                 v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



            CLASS COUNSEL’S MEMORANDUM IN RESPONSE TO MOTION FOR
                 RELIEF UNDER ARTICLE XXVII OF THE SETTLEMENT
                   AGREEMENT OR FOR RELIEF FROM JUDGMENT


        Class Counsel respectfully submits this memorandum in response to the Motion for Relief

under Article XXVII of the Settlement Agreement or for Relief from Judgment (ECF No. 11169),

which seeks, among things, to prohibit neuropsychologists from using demographic normative

adjustments that incorporate, inter alia, race, in their assessment of Players’1 cognitive


        1
         For the sake of brevity and simplicity, Class Counsel uses “Player(s)” as a shorthand reference to
class members who are Retired NFL Football Players as defined under section 2.1(ffff) of the Settlement
Agreement, ECF No. 6481-1 at 18.
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impairment. As discussed below, Movants’ contention that the Settlement Program is employing

“a formula that explicitly and deliberately discriminates on the basis of race,” Movants’ Mem.

(ECF No. 11169-1) at 1, is without merit. The Court should accordingly deny the motion.

                                              ARGUMENT

       I.       The Baseline Assessment Program Was Modeled to Track Regular Clinical
                Practice by Making Demographic Norms, Including for Race, Available to
                Neuropsychologists for Use Based on Their Professional Judgment

       In establishing the BAP program, the Settling Parties2 sought to create a framework

through which Players could be clinically evaluated for neurocognitive impairment, and a baseline

established for them, by medical professionals (neurologists and neuropsychologists) consistent

with general clinical practice. In doing so, the Parties recognized that neuropsychologists must

have the same tools available to them -- and must be allowed to exercise clinical judgment and

discretion -- similar to that which they use when assessing patients in their clinical practice. That

is, neuropsychologists should examine Players like clinical patients.                  Accordingly,

neuropsychologists who are seeing Players in the course of the Settlement Program are to use the

demographic norms they believe best fit the Player before them, just as they would do when

assessing clinical patients.    Declaration of John Keilp, Ph.D. (“Keilp Decl.” or “Keilp

Declaration”) ¶¶ 12-13, 16-17.3 For some, the selected norms will be “education only” norms,

where the person’s age, sex, and level of education best describe the population against whose

testing results their current neurocognitive health should best be measured. Id. ¶ 15. For others,

the use of demographic adjustments, including the patient’s race or ethnicity (“full demographic



       2
          For the sake of brevity and simplicity, Class Counsel uses “Settling Parties” to refer
collectively to Class Plaintiffs and the NFL Parties.
       3
            The Keilp Declaration accompanies this memorandum.

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correction”) may be the most appropriate. In this way, the true picture of the Player’s current

neurocognitive health can be assessed in accordance with the neuropsychologist’s best clinical

judgment.4 Id. ¶ 17.

       The Settlement Agreement states that the individual tests that compose the test battery were

selected, in part, because of the availability of demographically-adjusted normative date for

Caucasians and African Americans. Exhibit A-2 states, in relevant part:

           Section 4. Neuropsychological Test Score Criteria by Domain of
           Cognitive Functioning

           There are 5 domains of cognitive functioning. In each domain,
           there are several tests that contribute 3, 4, or 6
           demographically-adjusted test scores for consideration. Test
           selection in the domains was based on the availability of
           demographically-adjusted normative data for Caucasians and
           African Americans. These domains and scores are set out below.
           (emphasis added).

ECF No. 6481-1 at 116 (emphasis added).

       Although full demographically adjusted normative data are available to be used by

neuropsychologists in the Settlement Program, just as they are in clinical practice, their use is not

mandated by the Settlement Agreement or the BAP Manual. Rather, the decision as to whether to

use full demographic corrections is left to the clinical judgment of the examining




       4
         “Of course, clinical interpretation of neuropsychological data should not strictly rely upon
use of norms, but also consider the appropriateness of available norms in relation to each person’s
background, including social, educational and medical history, and other factors (i.e., psychiatric,
substance use, etc.).” Norman et al., Demographically Corrected Norms for African Americans
and Caucasians on the Hopkins Verbal Learning Test-Revised, Brief Visuospatial Memory Test-
Revised, Stroop Color and Word Test, and Wisconsin Card Sorting Test 64-Card Version.
[hereafter “Norman”] J Clin Exp Neuropsychol. 2011 Aug;33(7):793-804.



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neuropsychologist, who is in the best position to make that decision, which is similar to clinical

practice. Keilp Decl. ¶¶ 12-13, 16-17.

       Exhibit A-2 to the Settlement Agreement does, in fact, mandate that neuropsychologists

follow certain procedures (e.g., specified test battery, required cut-off scores to support a dementia

diagnosis, etc.) when examining players, but the Settling Parties did not use any such language

with respect to which demographic norms must be used. The Settling Parties clearly left that

decision to the clinical judgment of the individual neuropsychologist.            Full demographic

corrections are simply one of the tools available to neuropsychologists, which may be used at their

discretion.

       Based on the aforementioned language of the Settlement Agreement, neuropsychologists

are plainly afforded the discretion to use (or not use) full demographic corrections. The fact that

some neuropsychologists decided to apply full demographic corrections is not surprising

considering that the Settlement Agreement explicitly states they are available, and also considering

that they were commonly used by clinical neuropsychologists at the time of the settlement was

negotiated. Id. ¶ 11.

       II.     The Use and Application of Demographic Norms
       The Settlement Program, as established by the Settling Parties and approved by the Court,

acknowledges that in order to properly assess a Player’s neuropsychological test results,

neuropsychologists need to compare Players’ current test results with normal expectations for

other people of similar demographic characteristics.            Id. ¶ 7.     That means that the

neuropsychologist must estimate how the patient would have performed on the tests if he had not

suffered an injury or disease involving the brain. This is accomplished by using the appropriate

demographic norms when converting a Player’s raw neuropsychological test scores to T-scores.



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Id. ¶ 6. This is the same process used by neuropsychologists in their daily clinical practice, which

is encouraged under the Settlement Program.

       The use of demographic norms when converting raw scores to T-scores is standard practice

by neuropsychologists in the clinical setting. Demographically adjusted normative reference

values for many neuropsychological tests have been available for clinical use, and used, for many

years. Id. ¶ 11. Clinical training programs provide neuropsychology students with training and

instruction regarding the appropriate use of demographic corrections, and these corrections are

commonly used in day-to-day clinical practice. Id.

       Numerous published studies have established that neuropsychological test scores in the

general population vary in association with demographic characteristics, including age, gender,

race, ethnicity, and level of education. Id. ¶ 8. For most neuropsychological tests, older adults

perform more poorly than younger adults. People with more education, on average, perform better

on many tests than people with less education, while African Americans, on average, perform more

poorly on many neuropsychological tests than do Caucasians. Id. ¶¶ 8-9. Consequently, the most

common demographic corrections account for age, sex, education, and race. Id. ¶ 10.

       The purpose of using demographically corrected norms in assessing for possible dementia

is to ensure a uniform likelihood of patients being correctly classified as normal or

“abnormal/impaired,” irrespective of whether they are old or young, well-educated or not, male or

female, or Black or White. Id. Both types of misclassification in this situation could be

problematic—either diagnosing an impaired person as normal, or the other way around.

Demographically corrected norms are used in clinical practice to try to both minimize and balance

the two types of potential misdiagnosis as much as possible for all people, irrespective of their

demographic characteristics. With respect to the use of full demographic corrections, published



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studies recommend their use in order to improve diagnostic accuracy and reduce the likelihood

that African Americans will be misdiagnosed as having cognitive impairment when they do not.

Id.5

       For these reasons, full demographically adjusted normative reference values are available

for the tests used in the BAP, including the Wechsler Adult Intelligence Scale-Fourth Edition,

Wechsler Memory Scale-Fourth Edition, Trail Making Test, Boston Naming Test, Boston

Diagnostic Aphasia Exam Complex Ideational Material subtest, Controlled Oral Word Association

Test (F-A-S and Animal Naming tasks), and the Booklet Category Test. Keilp Decl. ¶¶ 13-14.

Thus, a clinician evaluating an African-American player’s test results could adjust these results

with reference to a more specific normative sample (e.g., African-American men in their 60s with



       5
          “A substantial number of normal African-Americans patients might be incorrectly
classified as neuropsychologically impaired, and misdiagnosed.”; “Instead, the use of the more
general race/ethnicity proxy (with all its shortcomings) in normative corrections should at least
enhance consistency/reliability and may greatly reduce the probability of incorrectly attributing
cognitive and possibly central nervous system abnormalities to normal African Americans."
Norman, 2011 Aug;33(7):793-804.

        “These racial comparisons have generally shown that despite equivalence on demographic
variables such as years of education and socioeconomic status, African Americans obtain lower
scores on both verbal and nonverbal cognitive tasks. These discrepancies cause attenuated
specificity, such that cognitively normal African Americans are more likely to be mis-diagnosed
as impaired as compared to Whites (Ford-Booker et al., 1993; Klusman et al., 1991; Manly et al.,
1998a, 1998b, 1998c; Stern et al., 1992; Welsh et al., 1995)” (Manly et al. 2002, Reading level
attenuates differences in neuropsychological test performance between African American and
White elders. J Int Neuropsychol Soc. 2002 Mar;8(3):341-8.

       “Some authors have suggested that the unavailability of demographically appropriate
norms could have detrimental implications in terms of diagnostic accuracy (e.g., Friedman et al.,
2002), as research has suggested that cognitively normal African Americans are more likely to be
misdiagnosed as impaired compared to Caucasians due to lower scores on standard
neuropsychological tests (e.g., Manly, Jacobs, Touradji, Small, & Stern, 2002). Patton DE, Duff
K, Schoenberg MR, Mold J, Scott JG, Adams RL. Performance of cognitively normal African
Americans on the RBANS in community dwelling older adults. Clin Neuropsychol. 2003
Nov;17(4):515-30.


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a college degree) or to a broader and more heterogeneous sample (e.g., all men and women, of all

levels of education, in their 60s).

       Although      full   demographically    adjusted   normative    data   are   available    to

neuropsychologists in the settlement program, neuropsychologists are not required to use them.

The decision as to which demographic norms are appropriate for any particular Player is left to the

clinical judgment of the examining neuropsychologist, who is in the best position to make that

clinical decision. Id. ¶¶ 12-13, 16-17. Based on individual circumstances, a neuropsychologist

may conclude that the use of full demographic corrections when calculating T-scores is appropriate

for one African American player but not for another African American player with different

individual circumstances.     That decision is ultimately left to the clinical judgment of the

neuropsychologist, just as it would be if the Player was examined in a clinical setting outside of

the settlement program. Id. ¶¶ 16-17.

       III.    The BAP Manual Neither Mandates the Use of Full Demographic Norms Nor
               Creates a Presumption in Favor of Their Use

       The BAP Manual, approved by the NFL and Class Counsel, currently instructs

neuropsychologists to “Convert test scores to demographically-corrected T-scores via ACS

software (use of the full demographic correction is recommended) or Revised Comprehensive

Norms for an Extended Halstead-Reitan Battery.” BAP Manual at 13 (emphasis added). The

parenthetical recommending the use of full demographic correction was added at the

recommendation of the BAP Administrator based on input that it received from the clinical

neuropsychologist on its medical panel.       The parenthetical neither requires the use of full

demographic corrections, nor creates a presumption in favor of their use. Consequently, the

parenthetical does not “amend” the Settlement Agreement.




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       There are numerous instances in the BAP Manual, as in the Settlement Agreement, where

the Settling Parties clearly showed their intention to mandate certain actions by the

neuropsychologists with respect to neuropsychological testing in the BAP. For example, among

other things, the BAP Manual clearly requires that neuropsychologists:

           a. Use a specific test battery;

           b. Determine how many tests within each cognitive domain fall below the negotiated

               cut-offs;

           c. Determine test validity;

           d. Administer Trail Making Test A before Trail Making Test B; and

           e. Determine Pre-Morbid function.

       When neuropsychologists diagnose a Player with a Qualifying Diagnosis of Level 1.5 or 2

Neurocognitive Impairment outside of the BAP program, but do not strictly adhere to the above

requirements, they are required to provide a “deviation explanation”—explaining why their

diagnosis is “generally consistent” with the Settlement Agreement’s injury definition for that

particular Qualifying Diagnosis.     For example, neuropsychologists may use a “generally

consistent,” but non-identical, test battery to diagnose a Player but they must then provide a

“deviation explanation,” which the Claims Administrator may or may not deem sufficient.

       If the Settling Parties had intended to require the use of full demographic corrections, they

would have used the necessary language, just like they did with respect to the above examples,

which would have resulted in the need for a “deviation explanation” from the neuropsychologist

in the event they made a diagnosis without full demographic corrections. Rather, the Settling

Parties accepted the language proposed by the BAP Administrator, which simply recommends, but

does not require, the use of full demographic corrections.



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       The parenthetical “recommending” the use of full demographic norms does not create a

presumption in favor of their use or suggest any sort of deviation from either clinical practice or

the requirements of the Settlement Program. Notably, there are other examples in the BAP Manual

where the Settling Parties “recommend” or “suggest” that the neuropsychologist take a certain

course of action, but in none of those instances is a presumption created based on the

“recommendation” or “suggestion.” Specifically, the BAP Manual “suggests” the specific order

in which the neuropsychologist should administer the tests.               BAP Manual at 11.

Neuropsychologists who do not follow that sequence, however, need not provide a deviation

explanation as to why they employed a different order.

       Similarly, the BAP Manual “recommends” a specific narrative report template to be used

by neuropsychologists and “recommends” that the Player be given a break during the testing. Id.

at 11, 18. Despite those “recommendations”, no presumption is created if the neuropsychologist

does not follow either of those recommendations and, therefore, there is no need for the

neuropsychologist to provide a deviation explanation as to why they did not follow either of those

recommendations. Importantly, the parenthetical proposed by the BAP Administrator’s clinical

neuropsychologist and accepted by the Settling Parties uses the exact language (i.e.,

“recommends”) as employed in the BAP Manual for the situations detailed above. No presumption

was created in those situations and no presumption is warranted with respect to the

“recommendation” to use full demographic corrections. That approach is consistent with the goal

of encouraging neuropsychologists to examine Players in a manner similar to that which they

would use in their own clinical practice. Neuropsychologists’ clinical judgement should be

afforded deference.




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       Although Class Counsel believes that the BAP Manual is clear in leaving the decision as

to the use of demographic norms to the professional judgment of neuropsychologists, out of an

abundance of caution, Class Counsel would support a statement by the Court that the use of full

demographic corrections is not required, and that neuropsychologists examining Players should

use their professional judgment to select the appropriate demographic adjustments to apply to the

player’s test results. A corresponding amendment to the BAP Manual reflecting the same is set

forth below:

          Convert test scores to demographically-corrected T-scores via ACS software
          or Revised Comprehensive Norms for an Extended Halstead-Reitan Battery.
          The selection of the appropriate demographic normative data to apply to the
          player's results for such testing is reserved to the clinician’s professional
          judgment.

IV.    No Player Has Been Denied a Monetary Award Based Solely on a Neuropsychologist’s
       Use of Demographic Norms

       Putting aside that, as the foregoing demonstrates, the use of full demographic corrections

is not required by the Settlement Agreement or the BAP Manual and there is no presumption in

favor of the use of such norms, the bottom-line question presented by Movants’ motion is whether

any Player has had a Monetary Award claim denied on account of the norms that a

neuropsychologist decided to use in adjusting his test results. Based on review of the available

claims information, Class Counsel has not identified any claim that was denied solely because of

the   normative     adjustments    the   neuropsychologist      applied    when    converting     raw

neuropsychological test scores to T-scores.

       Neuropsychological testing, as a measure of decline in cognitive ability, is only one criteria

necessary to support a Qualifying Diagnosis for dementia (Level 1.5 or Level 2 Neurocognitive

Impairment).      Other criteria must also be satisfied, including the Players’ current functional

abilities -- that is the ability to deal with the various tasks of daily living. Functional impairment

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is assessed through three subscales of the Clinical Dementia Rating (“CDR”), Community Affairs,

Home & Hobby, and Personal Care. For those denied claims where the use of demographic

adjustments was mentioned in the Notice of Denial, the Claims Administrator indicated in the

Notice that there were other independent bases for the denials. In the vast majority of those claims,

the Player’s CDR scores were deemed incompatible with the dementia diagnosis claimed by the

Player. Further, many of the claims were denied based on the invalidity of the neuropsychological

testing due to sufficiently low scores on performance validity tests and other validity measures.

       Lastly, it is important to note that, despite the clear language of the Settlement Agreement,

no objection was made during the settlement approval process regarding the availability or possible

use of full demographic corrections. In fact, one Objector filed a declaration from his expert

neuropsychologist, who not only failed to object to the possible use of full demographic corrections

but actually discussed the utility and purpose behind neuropsychologists’ use of demographic

corrections. See ECF No. 6201-16 (Stern Decl, ¶ 48). Thus, any such objection to the possible

use of full demographic corrections is not only at odds with clinical practice, it is at this stage long

since waived.

V.     Movants’ Claim of Unlawful Race Discrimination Is Meritless

       Lastly, Movants make a two-paragraph argument that the challenged conduct violates the

constitutional guarantee of equal protection. Movants Br. (ECF No. 11169-1) at 19. Setting aside

that, as the above discussion demonstrates, there has been no untoward conduct in the

administration of the Settlement, Movants’ contention is unavailing. Their reliance on Democratic

National Committee v. Republican National Committee, 673 F.3d 192, 204 (3d Cir. 2012), is

misplaced because all that case stands for is that court enforcement of a consent decree can amount

to state action if it calls for state coercion. There is plainly no state (or federal) coercion in the



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administration of this Settlement between private parties. See Blum v. Yaretsky, 457 U.S. 991,

1004-05 (1982) (“[A] State normally can be held responsible for a private decision only when it

has exercised coercive power or has provided such significant encouragement, either overt or

covert, that the choice must in law be deemed to be that of the State. Mere approval of or

acquiescence in the initiatives of a private party is not sufficient to justify holding the State

responsible for those initiatives under the terms of the Fourteenth Amendment.”) (internal citations

omitted); see also Switlik v. Hardwicke Co., 651 F.2d 852, 860 (3d Cir. 1981) (Hunter, J.,

concurring) (“There is no cause of action under the Civil Rights Act if a case is private litigation

in which the state does no more than furnish the forum and has no interest in the outcome.”)

(citation and internal quotation marks omitted).

       Nor does the fact that a federal court oversees the effectuation of this Settlement suffice to

constitute state or governmental action for purposes of the Fourteenth Amendment or the civil

rights laws. See United States v. Int’l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers

of Am., AFL-CIO, 954 F.2d 801, 806-07 (2d Cir. 1992) (Government oversight of consent decree

in RICO action against union and court’s enforcement of court-appointed independent

administrator’s decision not state action triggering due process rights); Duffy v. Int'l Union of

Operating Engineers Local 14-14B, 795 F. Supp. 2d 246, 253 (E.D.N.Y. 2011) (“[T]the actions

of an officer appointed by a federal district court to oversee the implementation of a

union consent decree do not constitute ‘state action’ for constitutional purposes.”) (citation and

internal quotation mares omitted).

       In short, Movants’ makeweight constitutional claim fails.




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                                      CONCLUSION
      For the foregoing reasons, the Court should deny the motion.

Date: October 8, 2020

                                                  Respectfully submitted,

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